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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
WILLIAM C. TOTH JR., et al.,         :          Civil No. 1:22-CV-00208
                                     :
             Plaintiffs,             :
                                     :
             v.                      :
                                     :
LEHIGH M. CHAPMAN, in her official :
capacity as Acting Secretary for the :
Commonwealth, et al.,                :
                                     :
             Defendants.             :          Judge Jennifer P. Wilson

                                      ORDER

      AND NOW, on this 25th day of February, 2022, following review of the

proposed intervenor-defendants’ motion for leave to file a brief, or, in the

alternative, an amicus brief, in opposition to Plaintiffs’ request to convene a three-

judge district court, Doc. 37, and noting that Plaintiffs do not oppose this request

and Defendants take no position, IT IS ORDERED THAT the motion is

GRANTED, and the letter brief, Doc. 37-1, is deemed filed.



                                        s/Jennifer P. Wilson
                                        JENNIFER P. WILSON
                                        United States District Court Judge
                                        Middle District of Pennsylvania
